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                                        U.S. Department of Justice



                                         United States Attorney
                                         Western District ofPennsylvania


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April 9, 2010



John A. Knorr, Esquire
John Knorr Law
1204 Frick Building
437 Grant Street
Pittsburgh, Pennsylvania 15219

Re:   United States of America v.
      Hardy Carroll Lloyd
      Criminal No. 09-320

Dear Mr. Knorr:

This letter sets forth the agreement by which your client, Hardy
Carroll Lloyd, will enter a plea of guilty in the above-captioned
case. The letter represents the full and complete agreement between
Hardy Carroll Lloyd and the united States Attorney for the Western
District of Pennsylvania. The agreement does not apply to or bind
any other federal, state, or local prosecuting authority.

Upon entering a plea of guilty, Hardy Carroll Lloyd will be
sentenced under the Sentencing Reform Act, 18 U.S.C. §3551, et seq.
and 28 U.S.C. §991, et seq. The Sentencing Guidelines promulgated
by the United States Sentencing Commission will be considered by
the Court in imposing sentence. The facts relevant to sentencing
shall be determined initially by the United States Probation Office
and finally by the United States District Court by a preponderance
of the evidence.

     A.    The defendant, Hardy Carroll Lloyd, agrees to the
following:

           1. 	   He will enter a plea of guilty to Count One of the
                  Indictment at Criminal No. 08-215, charging him
                  with violating Title 18,     United States Code,
                  Section 922 (g) (1), pursuant to Rule 11 of the
                  Federal Rules of Criminal Procedure.



                       LIMITED OFFICIAL 
                                          J~   GOVERNMENT
                                                                                          EXHIBIT

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          2.    He will voluntarily forfeit to the United States
                his right, title, and interest in all property
                subject to forfeiture under 18 U.S.C. §924 (d),
                including all firearms and ammunition referenced in
                Count One of the indictment.

          3.    He acknowledges that the above-described property
                was involved and used in the knowing commission of
                the offense charged in Count One.

          4.    He acknowledges that the above-described property
                is presently the subject of a criminal forfeiture
                action at the above-captioned criminal case number
                and he herewith voluntarily consents to the Court
                entering an order of forfeiture of said property to
                the United States.

          5.    At the time Hardy Carroll Lloyd enters his plea of
                guilty, he will deposit a special assessment of
                $100.00 in the form of cash, or check or money
                order, payable to "Clerk, U.S. District Court". In
                the event that sentence is not ultimately imposed,
                the special assessment deposit will be returned.

          6.    Hardy Carroll Lloyd waives any former jeopardy or
                double jeopardy claims he may have in or as a
                result of any related civil or administrative
                actions.

          7.    Hardy Carroll Lloyd waives the right to take a
                direct appeal from his conviction or sentence under
                28 U.S.C. §1291 or 18 U.S.C. §3742, sUbject to the
                following exceptions:

                 (a)   If   the United States appeals   from the
                       sentence, Hardy Carroll Lloyd may take a
                       direct appeal from the sentence.

                (b)    If (1) the sentence exceeds the applicable
                       statutory limits set forth in the United
                       States Code, or (2) the sentence unreasonably
                       exceeds the guideline range determined by the
                       Court under the Sentencing Guidelines, Hardy
                       Carroll Lloyd may take a direct appeal from
                       the sentence.
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                 Hardy Carroll Lloyd further waives the right to
                 file a motion to vacate sentence, under 28 U.S.C.
                 §2255, attacking his conviction or sentence, and
                 the right to file any other collateral proceeding
                 attacking his conviction or sentence.

          8. 	   Hardy Carroll Lloyd agrees that the applicable
                 sentencing guideline range is appropriate and
                 reasonable under the circumstances of this case and
                 agrees to be sentenced within the applicable
                 guideline range.

          9. 	   Hardy Carroll Lloyd agrees not to host a website at
                 any time while under Court supervision as a result
                 of his guilty plea to Count One of the indictment.

     B.    In consideration of and entirely contingent upon the
provisions of Parts A and C of this agreement, the United States
Attorney for the Western District of Pennsylvania agrees to the
following:

          1. 	   The United States Attorney retains the right of
                 allocution at the time of sentencing to advise the
                 sentencing Court of the full nature and extent of
                 the involvement of Hardy Carroll Lloyd in the
                 offense charged in the Indictment and of any other
                 matters relevant to the imposition of a fair and
                 just sentence.

          2. 	   Prior to sentencing, the United States Attorney
                 will, orally or in writing, move that, pursuant to
                 §3E1.1 of the Sentencing Guidelines, the Court
                 reduce the offense level by 3 levels for acceptance
                 of responsibility, on the grounds that the offense
                 level prior to application of §3E1.1 is 16 or
                 greater, and Hardy Carroll Lloyd timely notified
                 authori ties of his intention to enter a plea of
                 guilty, thereby permitting the government to avoid
                 preparing for trial and permitting the Court to
                 allocate its resources efficiently.

                 The United States Attorney will take any position
                 he deems appropriate in the course of any appeals
                 from the sentence or in response to any post­
                 sentence motions.
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     C.   Hardy Carroll Lloyd and the United             States    Attorney
further understand and agree to the following:

          1. 	   The penalty that may be imposed upon Hardy Carroll
                 Lloyd is:

                 (a) 	 A term of imprisonment of not more than ten
                       (10) 	 years;

                 (b) 	 A fine of $250,OOO.00i

                 (c) 	 A term of      supervised     release      of   three
                       (3)y ears i

                 (d) 	 A special assessment under 18 U.S.C. §3013 of
                      $100.00i

                 (e) 	 Forfeiture, pursuant to Title           18, United
                       States Code, Section 924(d} (1).

                 If, however, it is determined that Hardy Carroll
                 Lloyd has three previous convictions for violent
                 felonies or serious drug offenses or both, the term
                 of imprisonment is not less than 15 years and not
                 more than life imprisonment, and the term of
                 supervised release is 5 years.

          2. 	   This agreement does not preclude the government
                 from pursuing any civil or administrative remedies
                 against Hardy Carroll Lloyd or his property.

          3. 	   The parties agree that the base offense level
                 applicable to this case is 14, pursuant to U.S.S.G.
                 §2K2.1(a) (6).

          4. 	   The parties agree that the base offense level
                 should be increased four (4}levels pursuant to
                 § 2 K2 . 1 (b) (1) .

         5. 	    The parties agree that the adjusted base offense
                 level of 18 should be lowered by a total of three
                 (3)   levels   under   §3E1.1 of   the   sentencing
                 guidelines   for   acceptance  of   responsibility,
                 resulting in an overall offense level of 15.
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           6. 	   The parties agree that if the defendant is
                  sentenced based on an overall offense level no
                  higher than 15 that he will not seek a downward
                  departure or variance from the guideline range.

           7. 	   Based on the agreements set forth above, the United
                  States Attorney for the Western District of
                  Pennsylvania agrees not to file additional charges
                  based on the defendant's internet postings, which
                  have occurred as of the date of this agreement.

This letter sets forth the full and complete terms and conditions
of the agreement between Hardy Carroll Lloyd and the United States
Attorney for the Western District of Pennsylvania { and there are no
other agreements, promises, terms or conditions { express or
implied.

Very 	truly yours,

 f)j.cI.i [~,
ROBERT S. CESSAR
Acting United States Attorney


I have received this letter from my attorney{ John A. Knorr {
Esquire { have read it and discussed it with her { and I hereby
accept it and acknowledge that it fully sets forth my agreement
with the Office of the United States Attorney for the Western
District of Pennsylvania. I affirm that there have been no
additional promises or representations made tome by any agents or
officials of the United States in connection with this matter.



                                  Hardy Carroll Lloyd



                                  Date
Witnessed by:



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        KNORR, ESQUIRE
        for Hardy Carroll Lloyd
